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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                         x Chapter 11
In re:                                                   :
FTX TRADING, LTD., et al.,                               : Case No. 22-11068-JTD
                                                         :
                                                         :
                                                         :
                                 Debtors.                x

              OBJECTION OF ELD CAPITAL LLC TO CONFIRMATION OF
            DEBTORS’ JOINT CHAPTER 11 PLAN OF REORGANIZATION AND
                            RESERVATION OF RIGHTS

          ELD Capital LLC (“ELD”), a customer claimant in these proceedings, respectfully

submits this objection (“Objection”) to confirmation of the First Amended Joint Chapter 11 Plan

of Reorganization of FTX Trading Ltd. and its Debtor Affiliates (D.I. 22165, “Plan”) and

reserves its rights with respect to its claims against the Debtors.1

          The Plan and its proposed implementation may extinguish ELD’s claims that certain

Debtors fraudulently induced exchange transactions through their conduct on November 10,

2022—one day before the Petition Date—causing a reduction of more than 80% in the value of

ELD’s customer account.2 For the reasons addressed below, the Court should not approve the

Plan’s global settlement and release provisions unless ELD’s fraud claims against the Debtors

are preserved. Alternatively, if the global settlement and release provisions do not extinguish

ELD’s fraud claims against the Debtors, ELD reserves its rights with respect to such claims.




1
    Capitalized terms not otherwise defined herein shall have the same meaning as in the Plan.
2
    The exchange transactions were effectuated on November 11, 2022—the Petition Date.
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    I.      BACKGROUND3

            A. ELD and its Claim

         ELD is a customer claimant in these proceedings with a Class 5A Dotcom Customer

Entitlement Claim. ELD is a limited liability corporation registered in St. Vincent and the

Grenadines. On or about February 25, 2024, ELD’s manager filed Claim No. 91933 in these

proceedings. Debtors objected to Claim No. 91933 as overstated. See Doc. 11892-2, Debtors’

Twenty-Fifth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer

Claims) (“Twenty-Fifth Omnibus Objection”), Schedule 1, at 21 of 61. On July 2, 2024, Claim

No. 91933 was amended, in relevant part, to reflect that ELD is the correct holder of the claim

and provide additional details in support of the claim. Specifically, the additional details

provided reflect that a component of ELD’s claim arises from certain exchange transactions

fraudulently induced by Debtors that caused the value of assets in ELD’s customer account to be

reduced as of the Petition Date.

            B. Debtors Fraudulently Induced Claimant’s Exchange Transactions at Issue

         Prior to the Petition Date, ELD maintained a customer account with an exchange

operated by Debtors that held cryptocurrencies and fiat currency. ELD’s holdings included U.S.

Dollars (“USD”) and cryptocurrencies Avalanche (“AVAX”), Bitcoin (“BTC”), Ethereum

(“ETH”), EthereumPoW (“ETHW”), FTX Token (“FTT”), Serum (“SRM”), Solana (“SOL”),

and TRON (“TRX”). Just before the Petition Date, ELD’s holdings in these assets amounted to

$569,262.34 in USD, including over $308,000.00 in USD itself held in trust by FTX.




3
 The background of the Debtors’ business and events leading to the filing of the Chapter 11 Plan
of Reorganization are well known to the Court and will not be repeated herein except as relevant
to the Objection.

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       In early November 2022, news of concerns with FTX’s leadership, management of

assets, and close relationship with its sister companies led masses of FTX customers to withdraw

their assets from the exchange and caused widespread alarm about FTX’s ability to continue

operating as a going concern. By November 10, 2022, the Securities Commission of the

Bahamas had frozen the assets of certain Debtors, suspended the registration of FTX Digital

Markets Ltd., and applied to the Supreme Court of the Bahamas for the appointment of a

provisional liquidator of FTX Digital Markets Ltd.—and the Debtors knew of the forthcoming

bankruptcy filing. Nonetheless, on that date, FTX publicly announced that it had reached an

agreement with TRON, another cryptocurrency platform, to allow holders of TRON-sponsored

cryptocurrencies (i.e., tokens) on the FTX platform to move such assets to external wallets on a

1:1 basis:

       FTX Announcement Regarding the Tron Credit Facility:

       We are pleased to announce that we have reached an agreement with Tron to
       establish a special facility to allow holders of TRX, BTT, JST, SUN, and HT to
       swap assets from FTX 1:1 to external wallets.

       This functionality will be enabled at 18:30 UTC, November 10, 2022.

       The exact capability of the Tron Token facility will be determined weekly and
       future injections will occur at 14:00 UTC. The amount to deposited will depend on
       a number of factors such as withdrawal demand and funding capacity to be provided
       by Tron. By providing a set schedule of the amount of tokens to be introduced into
       the market and the corresponding time, our goal is to provide more clarity to the
       market allowing users to make better informed decisions.

       As part of this agreement, we will be disabling Tron deposits for all users during
       this period. The only deposits will be the pre-announced deposits conducted weekly
       by the Tron Team. Initially, $13,000,000 of assets will be deployed to facilitate
       such swaps.

       Information on future capital injections will be shared on a weekly basis.

       We sincerely appreciate your patience and support of FTX during this period! And
       we hope to have more information to share in the near future. We are also very

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       grateful to the Tron team for stepping up to assist us in these hard times and provide
       support for the wider crypto industry.

       Please note, these markets (TRX, BTT, JST, SUN, and HT) may experience high
       levels of volatility. Please ensure you understand the details of this arrangement
       and associated risks before taking any actions. If you have any questions, don’t
       hesitate to reach out through support channels or our official telegram channel: [link
       embedded].

@FTX_Official, X (f/k/a Twitter) (Nov. 10, 2022 12:48), bit.ly/3YMEvrl.4

       On this date and until the time of Debtors’ bankruptcy filing, the prices of TRON-

sponsored tokens on the FTX platform were dramatically higher than that of those same tokens

on other exchanges. Therefore, if an FTX customer converted other assets to TRON-sponsored

tokens to move its assets off the FTX platform to an external wallet, it would need to accept an

enormous “liquidity” discount.

       Given the substantial and well-publicized concerns about the Debtors’ ability to operate

as a going concern and satisfy the withdrawal demands of its customers, as well as the specific

representations made by the Debtors, ELD made the difficult decision to accept the “liquidity”

discount and engage in exchange transactions to convert holdings in cryptocurrencies and fiat

currency in its account into TRON-sponsored tokens. ELD’s transactions made in anticipation

of the TRON credit facility were effectuated on November 11, 2022—the Petition Date. After

these transactions were effectuated, the value of assets in ELD’s account, which just prior was

$569,262.34 in USD, was reduced to approximately $99,188.75 in USD. These transactions

were specifically induced by the Debtors’ public representations and false promises.

       When ELD attempted to move its TRON-sponsored tokens to external wallets pursuant to

the Debtors’ representations, it was prevented from doing so, as the facility was not made



4
 The announcement was simultaneously made on FTX’s official website, which is no longer
active, and reported by numerous media outlets.
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available to ELD. At the same time, a message displayed on the FTX platform that “[d]eposits

of TRX, BTT, JST, SUN, and HT [were] disabled.” Shortly thereafter, the Debtors filed for

bankruptcy.

       The Debtors are liable to the ELD for fraud. To establish fraud, a plaintiff must show

that: (1) the defendant made a false representation; (2) the defendant knew or believed the

representation was false, or made it with reckless indifference to the truth; (3) the defendant’s

false representation was intended to induce the plaintiff to act or refrain from acting; (4) the

plaintiff’s action or inaction was taken in justifiable reliance upon the representation; and (5) the

plaintiff was damaged by such reliance. See Stephenson v. Capano Dev., Inc., 462 A.2d 1069,

1074 (Del. 1983). Fraud may occur through misrepresentation or by concealment. See id. Here,

the Debtors misrepresented that ELD would be able to avail itself the facility to move its assets

off the FTX platform to an external wallet if it converted its assets to TRON-sponsored tokens.

In addition, the Debtors concealed its imminent bankruptcy filing at the time it made the

exchange offer. At the time of the Debtors’ misrepresentations and concealment, the Debtors

were aware that ELD would not be able to avail itself of the facility to move its assets to an

external wallet and that they would imminently be making their bankruptcy filing. The Debtors’

misrepresentations and concealment were intended to induce the ELD’s exchange transactions of

cryptocurrencies and fiat currency into TRON-sponsored tokens. ELD justifiably relied on the

Debtors’ misrepresentations and concealment in determining to make the exchange transactions

given the means and manner in which the exchange offer was made (i.e., on FTX’s business

website and official social media channels, with a specific indication of TRON-sponsored tokens

included in the offer, and FTX’s representations that TRON would be participating in the facility

and that future capital injections to support the credit facility would be “shared on a weekly



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basis”). As a direct result of ELD’s exchange transactions made in reliance on the Debtors’

misrepresentations and concealment, ELD was damaged at least to the extent of the reduction in

value of the assets in ELD’s customer account as of the Petition Date.

       According to the Debtor’s records, when the valuation of customer accounts was fixed

for purposes of determining customer claims, the value of assets in ELD’s account was

approximately $98,943.38 in USD as a result of the discount taken in the exchange transactions.

Thus, to the extent ELD’s customer claim is not valued at or about $569,262.34, it has a fraud

claim against Debtors for approximately $470,318.96 in damages directly arising from their

misrepresentations and concealment with respect to the transactions described herein.

           C. The Plan’s Settlement and Release Provisions

       The Plan extinguishes claims against the Debtors in two ways: (1) a global settlement of

claims; and (2) release provisions.

       The global settlement is set forth in Article 5 of the Plan:

       In consideration of the classification, treatment, Distributions, releases and other
       benefits provided by the Debtors to their stakeholders under the Plan, on the
       Effective Date, the provisions of the Plan shall constitute a good-faith compromise,
       settlement and resolution (the “Global Settlement”) of all Claims, Interests and
       Causes of Action against, by or among the Debtors, including without limitation:
       (a) the actual or purported fraud, unjust enrichment, misappropriation, conversion
       and misconduct of former Insiders; (b) any basis for the contractual, structural and
       legal subordination rights of any Claim or Interest or any Distribution to be made
       on account of any Claim or Interest; (c) the purported commingling and misuse of
       customer deposits and corporate funds; (d) the tracing of assets of individual
       Debtors to particular sources of funding; (e) transactions among the Debtors prior
       to and on the Effective Date; (f) the allocation of corporate and administrative
       expenses across each of the Debtors; (g) the effects and consequences of the
       Debtors’ Terms of Service and whether the assets held by the FTX.com Exchange
       and the FTX.US Exchange are property of the Debtors’ Estates; (h) the Debtors’
       disregard for corporate separateness before the Petition Date; (i) any causes of
       action by a Debtor against other Debtors or the Insiders of other Debtors; (j) the
       purported absence of adequate corporate governance, cash management,
       accounting and cybersecurity controls by the Debtors and their Affiliates prior to



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       the commencement of the Chapter 11 Cases; and (k) all Causes of Action relating
       to any of the foregoing.

                                          *       *      *

Plan, § 5.2 (Global Settlement of Claims and Interests) (emphasis added). The global settlement

provision continues by explaining that “the value of Claims in respect of Digital Assets shall be

calculated pursuant to Section 4.4” and “Claims shall be classified and treated as set forth in

Article 4.” Id. (underlining in original). Article 4 and Section 4.4 simply provide the

classification table for claims (i.e., Class 5A Dotcom Customer Entitlement Claims in the case of

ELD) and explain “[u]nless otherwise expressly provided in the Digital Assets Estimation Order,

the value of a Claim in respect of a Digital Asset shall be calculated by converting the value of

such Digital Asset into Cash as of the Petition Date utilizing the conversion rates set forth in the

Digital Assets Conversion Table.” Plan, § 4.1.1 (Summary of Classification and Treatment), §

4.4 (Valuation of Claims).

        The Plan’s release provisions are set forth in Article 10 of the Plan. As relevant to

ELD’s fraud claims, the Plan provides the following:

   Pursuant to and to the fullest extent permitted by the Bankruptcy Code, except as
   otherwise specifically provided in the Plan or the Confirmation Order, the treatment of
   Claims and Interests under the Plan shall be in full and final satisfaction, settlement,
   release, discharge and termination, as of the Effective Date, of all Claims of any nature
   whatsoever, whether known or unknown, against, and Interests in, the Debtors, any
   property of the Estates, the Plan Administrator or any property of the Wind Down
   Entities, including all Claims of the kind specified in section 502(g), 502(h) or 502(i)
   of the Bankruptcy Code, in each case whether or not: (a) a Proof of Claim or Proof of
   Interest based upon such Claim, debt, right, liability, obligation or Interest is filed or
   deemed filed pursuant to section 501 of the Bankruptcy Code; (b) a Claim or Interest
   based upon such Claim, debt, right, liability, obligation or Interest is Allowed pursuant
   to section 502 of the Bankruptcy Code; or (c) the Holder of such a Claim, liability,
   obligation or Interest has accepted the Plan. Except as otherwise provided herein, any
   default by the Debtors or their Affiliates with respect to any Claim that existed
   immediately prior to or on account of the filing of these Chapter 11 Cases shall be
   deemed cured on the Effective Date. For the avoidance of doubt, any Claims arising



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   pursuant to section 502(h) of the Bankruptcy Code following the conclusion of any
   adversary proceeding shall not be discharged on or after the Effective Date.

Plan, § 10.2 (Discharge of Claims and Termination of Interests) (emphasis added). Claim is

defined as “any claim against a Debtor as defined in section 101(5) of the Bankruptcy Code,

which broadly includes a “right to payment, whether or not such right is reduced to judgment,

liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,

equitable, secured, or unsecured[.]” Plan, § 2.1.30; 11 U.S.C. §101(5).

   II.      OBJECTIONS

         The global settlement and release provisions may be read to settle, release, or preclude

ELD’s fraud claim against the Debtors. Yet, ELD has not consented to any settlement or release

of its fraud claims against the Debtors. The Court should not approve of the Plan insofar as it

requires ELD (and potentially other similarly situated customers) to settle and/or release claims

against its will under the circumstances present here.

         ELD has a claim against Debtors for their fraudulent inducement of the exchange

transactions. ELD’s fraud claim was asserted through the filing of the original customer claim.

Although ELD’s customer claim is classified as a Class 5A Dotcom Customer Entitlement

Claim, the Debtors previously objected to ELD’s customer claim for the pre-transaction amounts

as overstated and have not scheduled ELD’s fraud claim. See Doc. 11892-2, Twenty-Fifth

Omnibus Objection, Schedule 1, at 21 of 61. Since the fraud occurred on the Petition Date, the

customer claim was ELD’s only reasonable means of asserting the fraud claim considering the

automatic stay effective because of these proceedings. The Plan’s general settlement and release

provisions could serve to extinguish ELD’s fraud claim. See Plan, § 5.2 (Global Settlement of

Claims and Interests), § 10.2 (Discharge of Claims and Termination of Interests). Confirmation




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of the Plan should not discharge ELD’s fraud claim against the Debtors, which has neither been

scheduled nor allowed as part of ELD’s customer claim.

          This Court has the authority to reject overbroad or otherwise defective global settlement

and/or release provisions, see In re Wash. Mut., Inc., 442 B.R. 314, 356 (Bankr. D. Del. 2011)

(modifying release and global settlement in Chapter 11 plan), and it should exercise this

authority to modify the global settlement and release provisions to exclude fraud claims by

customers whose accounts were reduced because of the Debtors’ fraud immediately before the

Petition Date. The global settlement is broadly drafted and includes catch-all language to sweep

in nearly all conceivable claims against the Debtors whether or not the claim arose Prepetition.

See Plan, § 5.2 (Global Settlement of Claims and Interests). The release provisions fill virtually

any gaps in the global settlement and purport to release remaining claims against the Debtors.

See Plan, § 10.2 (Discharge of Claims and Termination of Interests). The incredible breadth of

the global settlement and release provisions is not necessary to effectively implement the Plan.

Cf. In re Mallinckrodt PLC, 639 B.R. 837, 868–69 (Bankr. D. Del. 2022) (Dorsey, J.) (approving

releases that were “integral” to the debtor’s reorganization). If the Plan is confirmed and the

fraud claims of customers such as ELD are discharged, however, claimants in ELD’s position

will be stripped of the ability to recover the value of their accounts but for the Debtors’ fraud.

Thus, the global settlement and release provisions of the Plan should not be approved insofar as

they purport to release these claims that, under the circumstances, should not be extinguished by

operation of the Plan.

   III.      RESERVATION OF RIGHTS

          If the Global Settlement and release provisions do not extinguish ELD’s fraud claims

against the Debtors, ELD reserves its rights with respect to such claims.



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   IV.      CONCLUSION

         The Court should not approve the Plan’s global settlement and release provisions unless

ELD’s fraud claims against the Debtors are preserved. Alternatively, if the global settlement and

release provisions do not extinguish ELD’s fraud claims against the Debtors, ELD reserves its

rights with respect to such claims.

Dated: August 16, 2024                                      DILWORTH PAXSON LLP

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